Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 1 of 22 PageID: 558




                   EXHBIT C
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 2 of 22 PageID: 559




 Exhibit C                    2018 EXOO TWEETS                        Page |1
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 3 of 22 PageID: 560




 THREAD: Left is Titus D'Andrea, leader of the New Jersey
 European Heritage Association, a white supremacist group.
 No one knows his real identity.
 Right is Dan D'Ambly, a newspaper printer at the
 @NYDailyNews
 in Jersey City. You see where this is going? Let's do this.




 11:49 AM · Oct 29, 2018·Twitter Web Client




 Exhibit C                         2018 EXOO TWEETS                   Page |2
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 4 of 22 PageID: 561




 2.) As of 2016, Dan was also the chairman of the
 Referendum Board for the Amalgamated Lithographers
 Local One. You can contact them here to let them know that
 Dan runs a white nationalist group: litho.org/?q=contact
                                                http://




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 Exhibit C                         2018 EXOO TWEETS                   Page |3
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 5 of 22 PageID: 562




 3.) Dan's organization, the New Jersey European Heritage
 Association, is a full-on "14 words" Nazi organization: "We
 must secure the existence of our people and a future for
 white children."




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 Exhibit C                         2018 EXOO TWEETS                   Page |4
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 6 of 22 PageID: 563




 4.) If you're not familiar with the "14 words," they're a white
 nationalist slogan coined by David Lane, founder of The
 Order: en.wikipedia.org/wiki/Fourteen_ …
             https://                                 Words




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 Exhibit C                         2018 EXOO TWEETS                   Page |5
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 7 of 22 PageID: 564




 5.) They've also been flyering, recruiting more to their
 hateful cause and spreading fear in our communities:




 NJ European Heritage Association flyer posted near FitzRandolph Gate
 A poster referring to “The White Race” as “Earth’s Most Endangered Species,” followed by
 contact information for a white supremacist organization called the New Jersey European
 Heritage Association,...
 dailyprincetonian.com

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 Exhibit C                         2018 EXOO TWEETS                               Page |6
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 8 of 22 PageID: 565




 6.) And again in August:




 Racist Stickers Spotted In Princeton: Report
 Stickers supporting the New Jersey European Heritage Association were seen in downtown
 Princeton, Planet Princeton reports.
 patch.com

 11:49 AM · Oct 29, 2018·Twitter Web Client




 Exhibit C                          2018 EXOO TWEETS                           Page |7
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 9 of 22 PageID: 566




 7.) And in October, too:




 White Supremacist Stickers Reappear In Princeton
 Stickers promoting the New Jersey European Heritage Association had previously been
 reported in Princeton in August.
 patch.com

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 Exhibit C                         2018 EXOO TWEETS                            Page |8
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 10 of 22 PageID: 567




  8.) And until now, no one knew who was behind it. It's
  Daniel D'Ambly, of Dayton, New Jersey, a newspaper printer
  for
  @NYDailyNews
  in Jersey City.
  11:49 AM · Oct 29, 2018·Twitter Web Client




  Exhibit C                         2018 EXOO TWEETS                  Page |9
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 11 of 22 PageID: 568




  9.) And Dan and his friends Scott and Luther even attended
  the Unite the Right 2 rally in Washington, D.C.. Left to right,
  that's Dan, Scott, and Luther in the button-ups and khakis:
   bbc.com/news/world-us- …
  https://                              canada-45165656




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  Exhibit C                         2018 EXOO TWEETS                 P a g e | 10
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 12 of 22 PageID: 569




  10.) They even taped themselves going there:
  youtube.com/watch?v=Rc_So3 …
  https://                                     yXIls&feature =youtu.be




  11:49 AM · Oct 29, 2018·Twitter Web Client




  Exhibit C                         2018 EXOO TWEETS                     P a g e | 11
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 13 of 22 PageID: 570




  11.) This is Dan's website, where he posts videos by Richard
  Spencer and William Pierce, founder of the National
  Alliance: web.archive.org/web/2018100801 …
               https://                                 1123/http://www.njeha.com/




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  Exhibit C                         2018 EXOO TWEETS                                 P a g e | 12
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 14 of 22 PageID: 571




  12.) Dan's also a Holocaust denier, and asserts that "Jews
  weren't the victims, but the culprits" in one of his fliers. CW:
  LOADS of antisemitism in that image




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  Exhibit C                         2018 EXOO TWEETS                 P a g e | 13
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 15 of 22 PageID: 572




  13.) The New Jersey European Heritage Association even has
  a YouTube account, "The Jersey Goyz 14."




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  Exhibit C                         2018 EXOO TWEETS                 P a g e | 14
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 16 of 22 PageID: 573




  14.) The logo they use for their YouTube channel is the state
  of New Jersey superimposed over a Sonnenrad, a symbol
  used in Nazi occultism: en.wikipedia.org/wiki/Black_Sun …
                                     https://                           _(symbol)




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  Exhibit C                         2018 EXOO TWEETS                 P a g e | 15
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 17 of 22 PageID: 574




  15.) And there are *plenty* of photos and video of Dan, too.
  And he's always doing racist shit. Here he is at Unite the
  Right 2.




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  Exhibit C                         2018 EXOO TWEETS                 P a g e | 16
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 18 of 22 PageID: 575




  16.) Here's Dan and Luther with Patrick Little, an antisemitic
  activist who advocates for Jews to raised as livestock and
  tortured: youtube.com/watch?v=8WQyh3 … CW: EXTREME
                https://                               OZRuU




  antisemitism




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  Exhibit C                         2018 EXOO TWEETS                 P a g e | 17
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 19 of 22 PageID: 576




  17.) By the way, fuck that cop for protecting them, too. He's
  part of the problem. Dan D'Ambly and Patrick Little were
  spreading *exactly* the kind of antisemitic rhetoric that
  motivated the massacre in Pittsburgh on Saturday.
  11:49 AM · Oct 29, 2018·Twitter Web Client




  Exhibit C                         2018 EXOO TWEETS                 P a g e | 18
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 20 of 22 PageID: 577




  18.) I need your help, everyone. Here's what you can do for
  me-- let
  @NYDailyNews
  know that one of their printers in Jersey City, Daniel
  D'Ambly, is the leader of a hate group. Get him fired. Hate
  has no place in our communities.
  11:49 AM · Oct 29, 2018·Twitter Web Client




  Exhibit C                         2018 EXOO TWEETS                 P a g e | 19
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 21 of 22 PageID: 578




  19.) Stay on top of this, too. If you don't hear back from
  @NYDailyNews
  , keep tweeting at them. Call their printing facilities in Jersey
  City at (201) 946-6000 to warn them about Daniel D'Ambly,
  leader of the New Jersey European Heritage Association.




                                              11:49 AM · Oct 29, 2018·Twitter Web
                                              Client




  Exhibit C                    2018 EXOO TWEETS                         P a g e | 20
Case 2:20-cv-12880-JMV-JSA Document 41-5 Filed 12/06/20 Page 22 of 22 PageID: 579




  20.) We can beat back the hate in our communities, folks,
  but it's going to take all of us working together. And Dan, if
  you're reading this: You don't get to spread antisemitic
  bullshit in our streets. Hate has consequences, you fucking
  jabroni.

  </thread>
  11:49 AM · Oct 29, 2018·Twitter Web Client




  Exhibit C                         2018 EXOO TWEETS                 P a g e | 21
